                   Case 2:17-cv-00662-SI      Document 13              Filed 08/06/19   Page 1 of 2




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                                IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF OREGON



     PATRICK HARNED,                                          Case No. 2:17-cv-00662-SI

                       Petitioner,                            JOINT STATUS REPORT

              v.

     JERI TAYLOR,

                       Respondent.

              Pursuant to this Court’s order of May 6, 2019 (ECF #12), the parties provide the

     following status report.

              Petitioner’s appeal from the state trial court’s denial of his successive petition for post-

     conviction relief remains pending before the Oregon Court of Appeals. The state’s answering

     brief remains due August 20, 2019.




Page 1 -   JOINT STATUS REPORT
           JA/kk4/9766510-v1
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                 Case 2:17-cv-00662-SI       Document 13              Filed 08/06/19   Page 2 of 2




              Because the state post-conviction proceedings are still pending, the parties respectfully

     request this Court continue the stay granted in this case. The parties will file another status

     report in 90 days, or as directed by the Court.

              DATED August 6 , 2019.

                                                           Respectfully submitted,

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Page 2 -   JOINT STATUS REPORT
           JA/kk4/9766510-v1
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